       Case 1:23-cr-00066-ZMF          Document 107        Filed 01/15/25     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :
                                             :        Case No: 1:23-CR-66-ZMF
                                             :
REBECCA LAVRENZ,                             :
                                             :
                      Defendant.             :


              UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION
                      TO TRAVEL TO WASHGINTON, D.C.

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully files this response to Defendant Rebecca Lavrenz’s Motion

to Attend the Inauguration in Washington, D.C. on January 20, 2025.

   1. On January 14, 2024, Lavrenz moved to modify the conditions of her release to allow her

to attend the Inauguration. Lavrenz’s motion notes that she would like to attend the Inauguration

because her daughter, Laura Lavrenz, has a senior-level role in planning the Inauguration

ceremony. ECF No. 106.

   2. On January 15, 2025, the Court ordered the United States to respond by 6:00 p.m. that

evening. See Min. Order dated Jan. 15, 2025.

   3. Based on the facts recounted in Lavrenz’s motion, the United States does not oppose the

motion.

   4. Undersigned counsel contacted the U.S. Probation Officer in the District of Colorado

assigned to supervise Lavrenz to obtain the officer’s position on the motion. The probation officer

stated: “Ms. Lavrenz has been complaint while on supervision with no issues or concerns,

however, she is on home detention until 2/22/2025.”


                                                 1
      Case 1:23-cr-00066-ZMF      Document 107       Filed 01/15/25   Page 2 of 2




      For these reasons, the United States does not oppose the Court granting Lavrenz’s

motion.



                                        For the United States:

                                        MATTHEW M. GRAVES
                                        UNITED STATES ATTORNEY
                                        D.C. Bar No. 481052

                                        /s/ Terence A. Parker
                                        Terence A. Parker
                                        Trial Attorney (Detailee)
                                        U.S. Attorney’s Office for the
                                        District of Columbia
                                        NY Bar No. 5775192
                                        Email: Terence.Parker3@usdoj.gov
                                        Phone: (202) 252-7859




                                           2
